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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Neon Underwriting, Ltd., et al.
                                     Plaintiff,
v.                                                    Case No.: 1:20−cv−07837
                                                      Honorable Robert W. Gettleman
PFS Logistics, LLC, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 24, 2022:


       MINUTE entry before the Honorable Robert W. Gettleman: On Stipulation [72]
and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this case is dismissed
with prejudice and without costs to any party. Plaintiff's motion for leave to file an
amended complaint [69] is denied as moot. Civil case terminated. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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